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 4
     Attorney for Defendant: JAVARIS M. TUBBS
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 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                     )       Crim. S-O5-243 EJG
11                                                 )
                                      Plaintiff,   )
12                                                 ) STIPULATION CONTINUING
                         v.                        )       SENTENCING AND
13                                                 )       ORDER THEREON
     JAVARIS M. TUBBS,                             )
14                                                 ) (Moving Sentencing to 3/27/08 @10:00)
                                 Defendant,        )
15                                                 )
16         It is hereby stipulated between counsel for the defendant and the government that
17   the sentencing presently scheduled for March 20, 2009 may be continued to March 27,
18   2009. Counsel for the parties have met with the defendant and an apparent agreement
19   has been reached which will result in an agreed sentence in this matter and a resolution
20   of the related matters. The trial of this matter having been concluded there are no issues
21   regarding excludable time.
22   Dated: March 19, 2009                                Dated: March 19, 2009
23   / s / Steven D. Bauer                                / s / William S. Wong
24   STEVEN D. BAUER                                      WILLIAM S, WONG
     Attorney for Defendant                               Assistant United States Attorney
25
     (Order on Following Page)
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27
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     Case 2:05-cr-00243-WBS-CKD Document 150 Filed 03/20/09 Page 2 of 2


 1 For Good Cause Appearing
   IT IS SO ORDERED
 2 Dated: March 19, 2009
 3
     /s/ Edward J. Garcia
 4   EDWARD J. GARCIA
     U. S. District Judge
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